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EXHIBIT G
Case 2:18-cv-12207-MCA-LDW Document 17-10

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Case 2:18-cv-12207-MCA-LDW Document 17-10 Filed 09/04/18 Page 3 of 14 PagelD: 389

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Case 2:18-cv-12207-MCA-LDW Document 17-10 Filed 09/04/18 Page 6 of 14 PagelD: 392

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Case 2:18-cv-12207-MCA-LDW Document 17-10

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‘one Fhoug ana fine windvd and ache,

‘So plemee, vo

} ous t. oe puter, :
oP OUTARR m4

OMNIS Ay ay tr
Jo oro gary sot i u, 4

alts Piooane of tesor

ve foo h, EAR, a
“ DINOR AF DErAAR” '
bh ‘ oo: Ont By “he guttH —
oF ipranky

ates Ta “ih
or esa rT
/ nan me vy Fein i

ey or tnpaa we

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oi ,
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‘ e. Doe onan ane ete ? REO We mera en eet es

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JUN=}3-2888 13:49 FromsCARELLA BYRNE

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19735978258 Tos 9734974828 #A3eBD
'
«yet ee ‘
. ‘ “nn we ,
: eget
aly : te . toes oUF Nee mets g in
t
. . ! I. 1 '
: ‘amt \ aye :
b nyheter ee yet se we ye
: Wey oe 4

 

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“amane’ ‘sr NerYoRser' 9) " we
. Govaty, of vtne ee 4g ‘ 5d) oh,

3 “aa t new CORRE, that on thi biztaonth dey of

seve very to" tho yesr of fur lara Ono Thonoond ioe Bundred ord
Bight, Deters MO, the wuboeritor, o dawter in Ghouoory Of sald
Vests, “pordavet iy Appeared Abs have Sohn Jy Ol Oen
Res Rov, Yoon’ ‘ Thoppard, ViovreOonera hl ‘Kays oh
Ohanostdor, Nove Ay Bonry Tor Yoort
who Y 8m vabseriod are

 

Kor, ‘Menap,
ardod Ar antty,
wand Revs Charbog iy Roly,
the pornong ane a fn," and whe axomted fhe

Corogoing eertitivote, Bnd having flee made kaw te thom

the
oontante thoreot,

"thay aid thayadpon aa'cnontedge thot hay pigned'

" H0olod and bottvored .the bane 90 thaid voluntary ooh ond dad,

for the voen and PUTpogoON btharedy Sxpredneds wid the 8448 Char }od
At tatth Jeatotery of sald Digosonn howooin tion, boing by mo du3
nvOrn,"hea8 d6peeg and maya oreet ba my bablathoklen that ho ia 4
tastobary of guid Digonnan Advodlotiog' dn tha for egolag vary sia
Sate bamed, ond thot Oho cont bhorabe ateizod a9 bye PRaper onre
paving: Youd of gadd Diovosea, sandals biony that the sane aga
ASf1x06'60) ood bha gota Corbicioute S4ghed, “womted 1 Soy hrornd
by Abr Rote John fy O'Oonnor, Nes ney} 7own As Shonpard, nov, *
Maries Ae dadbhy Nave Be Nonry Tor Tort ang Ray, Chardon 2,
' Koki, who ab bry fata ana bigalhs Whefoot, wore ott the aqunery
tructagg and oftloers of oo bd Diesessn Aqnsohation, in tha pvgond
nf intn dépononty ae tho votuntayy toh sud dood af the ania
f Dineqaen Agngototians and that the dopotion} thercupso oignod
tl tha pomp 86 Joaratory of noid Diocese e! foam aia bhod, pnd oo awh
sorihing atbooting #itnocos -', * “TE, aay '
Ate thiad And brarn to voters

“otanLita’ A, dure, sze'y,
mo OY nvoov G)iy, Nox vorsoy a err ice te

t {
ae Oke ssnntn Uy Of Motshor, i Ye 6
3 Lerg, ° '

stad 4 '

: oh ve
thay 3 tee

writ

| WVU ag CM Tandon : ' '

HOON FEN

 

 

 

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JUN-43-2888 13:49 FromiCARELLA BYRNE , L9735970e5e Tot d49734979Se5. P, 19°20
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hel gr RY i

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FAA RN a OR “f sit
wl) y a ct anes a ar} pene Ae

8 ‘ ‘t ’ id

   
 

eyhe re vat aay ye
ea vee : testy anh i i, ‘ re me “i
‘ fei ya Mt ,

    

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: bel tate fe ‘ ar my! ee my ‘
Ee UP Tea UST Ai
je GE pole [pte Bn
‘

 

 

 

 

 

 

 

 

 

 

 

 

‘ si 4 ety * ep gi yy : ra! Ny
one, Gu , 4s ef af Hi ys
y's if un Pitot a4 if Waly
HS hed ae . oe bas t sa ab eit ‘ ;
R forts BAM! Bit Aes { tet
fos be "ay Bags a in| yk hai Lita t i
hy ‘ ath ' pees tiny ay
Vemma rg Gee c nits elec # eae}
t ’ . gy Be, +e a ¢ fi aa i ec
{ ree t ye fea |? Bey iB hk | ‘ 1
i yeh ’ gene Laer git ge fa mA jedi ra . “
AL vsti, eb gh stn “ae vB oa! \3 : doh ae ik r,
Nas in we i ‘ i: / ce baie me ‘ vg Seg UA -
qe cS eat 5 eS vse at eH 1404 Mpeg o
, ‘ " he ' " . We agit 4 nang 13 aN Bat : "e ' ae a a oat
Wie? Pat tes tt a ‘She! é lth Tat sty ae Oil hits yf eg dink (ar t's sh
a ee onan os > wiley teste “bn nu qi ‘ not C } als wy ied
| TE re ra “ “RH ua re 5; te atte
“ G ‘ ay
f ‘ » eh cer ia ‘ “t, t git Me “uel 1% ae cH ty titer real '
Ppt TE i hs teas ats spre Teta
. , np ak eee TL Rahat so tuel fag
ey eh is ia Ae a ata ale tenet :
Y tye a ae he "4 7 * ried |
| ‘ ae ‘ : Ww hie me a nr He ik ee i bg ae :
Wet Sy :
’ ' * eget vs
; 4 “ . w mite vb, “st t wait ba .
. ‘. ows ‘, ve, het He . . nf vee .
‘ , 4 Pye wy wee 1M
‘f " seen A
| re. ‘ HAM Pa nae N HAL
: / s atin, “ee aly? ee
> he 1 . a he “ bee , Oi iY ‘ ‘
: i Ok Wail \
" cle Gey
| ; ve jet Met rvae
Wa . : : my wy Tite . Wee dy
Wee ri : oar eM ee hs
. wo ' rn ‘hy “a rh oo » Sieh rf a
. mn ar ie ‘ soe “ue aye! eet atte v4
i ‘ an we o ‘1? ogi M ' Re ’ ie ark ‘
' yo “ thee, ve os ey " i a need O
ih s fe iy , ‘ " . ane hel wa teh

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JUN-13-8008 13149 FromiCRRELLA BYRNE w97SS9708Se Tor STS4a7AbeS - PASrke
Ta Re My eo Wy Pea ‘ a ae nt i i, ‘
“” whit ng wt Read es i ve sengtien opkhs va th oan i f
asics Sa a sl i ya stindad i, sil ihe nit “hi see,
rah kai . } Reet finn ihn ay ey vley rae a aenelee ides mo
AEE a i uae at eh f wa Wop a dataeng °
ie s SHY egy ue

  

ae Le . , Ree
ate Ay 1 aks "1 fat 0h a
i a ies on me shy e oe at ee
" e u at ne WANE ie
444 el
A ge ae A i Hg saint
ie ie mr ue ne NEAR a ee oe
Ben a - aN es ; fe he ag
eae Tia ‘ Sand . ug a On NEMAR KSA Be
it uit a “agit 7 i hl thn 3 ag Rt Mi

wat ‘y
ae blest" | AA Sa a iy ede rit Bit ie a ee hi wit
‘dad me th in - Thad) Nad aly hha fot i ee mh

si

  

  
    
   
 

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ea a a naan a ee roy ig pees, “(6
sl ste ase a ioe ne ane caddy sae “a

¥

ary corbatht Kt ae

anh ei Hea a iid Sadar a
shally oe ‘i ! ORTE delay iq See
Winey ity algae ae “Sone ‘ cei iu ae ee ~

bet’ hone ind"

 

   

sink Peeves vali i eG rsua nt i rat sn oF shin ee
ANTS at At : : Gs”

On,
a Orta aot
iy Ce A Sy
‘ -

a ae pnirehaNde tped hi
‘ ye a a i: S : a a
“4 . it Wa it

i ‘4

   
 

      

{ f a i 4
Lo ve Ae nUGERAU BREST
paragiSbnclb Romihe uel a if

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gy iy ‘i a ie
' sgh isedtibn'a “ot the thet ey ae oes 2 ata
fa Mutborey ‘iri, in ihe, alist he i cetthy ke. athe iffatls a New
Terany, tka tha’ ‘ail ot the bale Pa AEST etl vpon

, whem re et ut "torpor leo ln M,
. .. Oto en ‘ nls "ut Ws ma aml lens se as .
a Me ‘wctess whento, 1 hive tik ye ine ny fie and
" a as . atlied “iha’ seal: att ‘ald ini til $e: scgnbuatt 4 all Newark,

    
  

   

re Wen patie bh ‘nies 37 da ay "oi Haars ‘ial a it

a ea: oes
mS "7 dal Yd) Ie fie; Nea ne
wey, Trav ran ie flee.l abd a

+:

 

A ae

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JUN¢ 33-2208 1315@ From CARELLA BYRNE Tos 3873497 45eS
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rota sm ety ices ewe
ret ala ws
ie erate EAigiog teal! a
“inf , \y ie t if H a My ?
"i is 1h a ite a . ‘ert ‘ oy
ast Paton GaN TENEEY Pe eri 1.
county OF tSHEX. oh ST
i+ wag eth abr He " ~ ae “ot p ‘
0 wv Niel "! i BEL tds 1 |
a sai Hl a An isn* this avrg cay’ ot Mawr » i001,
voters’ ine the ‘satay! a holry public ‘In and tor’ the county of
tasnx ond lala of ow Jarsey, personaly appenrad Pranklyn M, Cosola
mo who, being by me ‘fbi sworn docs anose ond say thal he fa thn
socratgry’ of the ‘rdligtoud ‘corporation, ap aforusaid, and well knows the
corberats anal of olata corporation BO On storeetia In the loreqaing
cortifleate homed) tra. the seen thereto ottixed {6 tho proper corporate
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at," jaa a a 0 fd axe Rrstition’ thorest ‘ihe nie dant of! the isla cor pora- '
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ef athe fle eoradrauon in ‘purvuinést of a srfesiuton 40, as alorossid
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ane Nee ike tbe s {
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